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Fn.!§o ss 9 ' __ c.c.
UNITED STATES DISTRICT COURT

WESTERN DISTRICT OF TENNESSEE §§ Hf.l_`z' -l§ PH l;.' ‘:2

' \J

WESTERN DIVISION

RODNEY V. JOHNSON,

  

Plaintiff,
v. No. 04-2372-B/P

MENLO WORLDWIDE LOGISTICS,

\p/\_d\_/\_/`_/\./\_i\_¢`/

Defendant.

 

SCHEDULING ORDER

 

Pursuant to written notice, a scheduling conference was held May 5, 2005. Present were
Plaintiff, pro se, and David P. Jaqua, counsel for defendant At the conference, the following dates
were established as the final dates for:

INITIAL DISCLOSURES PURSUANT TO Fed.R.Civ.P. 26(a)(1): May 19, 2005
JOINING PARTIES: June 3, 2005
AMENDING PLEADINGS: June 3, 2005
INITIAL MOTIONS TO DISMISS: July 5, 2005
COMPLETING ALL DISCOVERY: Novernber 4, 2005
(a) DOCUMENT PRODUCTION: Novernber 4, 2005

(b) DEPOSITIONS, INTERROGATORIES AND REQUESTS FOR
ADMISSIONS: November 4, 2005

(c) EXPERT WITNESS DISCLOSURE (Rule 26);

(1) DISCLOSURE OF PLAINTIFF’S RULE 26 EXPERT
INFORMA'I`ION: September 5, 2005

This document entered on fha amy

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(2) DISCLOSURE OF DEFENDANT’S RULE 26 EXPERT
INFORMATION: October 5, 2005

(3) EXPERT WITNESS DEPOSITIONS: November 4, 2005
FILING DISPOSITIVE MOTIONS: December 2, 2005
OTHER RELEVANT MATTERS:

No depositions may be scheduled to occur after the discovery cutoff date. All motions,
requests for admissions, or other filings that require a response must be filed sufficiently in advance
of the discovery cutoff date to enable opposing counsel to respond by the time permitted by the Rules
prior to that date.

Motions to compel discovery are to be filed and served by the discovery deadline or within 30
days of the default or the service of the response, answer, or objection, which is the subject of the
motion, if the default occurs Within 30 days of the discovery deadline, unless the time for filing of
such motion is extended for good cause shown, or the objection to the default, response, answer, or
objection shall be waived.

This case is set for jury trial. The pretrial order date, pretrial conference date, and trial date
will be set by the presiding judge. It is anticipated that the trial will last approximately one day.

This case is not appropriate for ADR.

The parties are reminded that pursuant to Local Rule l l(a)(l )(A), all motions, except motions
pursuant to Fed. R. Civ. P. 12, 56, 59, and 60 shall be accompanied by a proposed order.

The opposing party may file a response to any motion filed in this matter. Neither party may
file an additional reply, however, without leave of the court. If a party believes that a reply is
necessary, it shall file a motion for leave to file a reply accompanied by a memorandum setting forth
the reasons for which a reply is required

The parties have not consented to trial before the magistrate judge.

This order has been entered after consultation with trial counsel pursuant to notice. Absent
good cause shown, the scheduling dates set by this order will not be modified or extended

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IT IS SO ORDERED.

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TU`M. PHAM
United States Magistrate Judge

§_/Fl<>§

Date

MEMPHIS l64260vl

UNITED STATES DISTRlCT= COURT- WESTERNDISTRICT OF TENNESSEE

 

Notice of Distribution

This notice confirms a copy of the document docketed as number 9 in
case 2:04-CV-02372 was distributed by faX, mail, or direct printing on
May ll, 2005 to the parties listed.

 

 

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Honorable J. Breen
US DISTRICT COURT

